      Case 1:05-cr-01849-JCH            Document 661-1         Filed 08/25/06       Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

                Plaintiff,

        vs.                                                                       No. CR 05-1849 JH

DANA JARVIS, et al.,

                Defendants.

         ORDER GRANTING DEFENDANT TRUJILLO’S UNOPPOSED MOTION
            FOR LEAVE TO FILE STIPULATION FOR SUBSTITUTION OF
                    PROPERTY SUBJECT TO FORFEITURE

        THIS MATTER HAVING COME BEFORE THIS COURT UPON Defendant Russell

Trujillo’s Unopposed Motion for Leave to File Stipulation for Substitution of Property Subject to

Forfeiture,, the Court having noted the concurrence of the Assistant United States Attorney, having

reviewed the pleadings, and being otherwise fully apprised of the premises therein, THE COURT

FINDS the filing of the Stipulation for Substitution of Property Subject to Forfeiture is in the interest

of justice, is well taken and should be granted. NOW THEREFORE

        IT IS ORDERED defendant Russell Trujillo is hereby granted leave to file a Stipulation for

Substitution of Property Subject to Forfeiture herein.


                                                _________________________________________
                                                THE HONORABLE JUDITH C HERRERA
                                                U.S. DISTRICT COURT JUDGE

SUBMITTED BY:

 Electronically Filed
Penni Adrian
Counsel for Russell Trujillo

APPROVED BY:

  Telephonically Approved 8/24/06
Steve Kotz
Assistant United States Attorney
